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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
                       v.                            )
                                                     )       Docket No. 16-CR-40025-TSH
(1)    IVAN CRUZ-RIVERA and                          )
(2)    CARLOS JIMENEZ                                )
                                                     )
                       Defendants.                   )
                                                     )


                 WITNESS LIST FOR DEFENDANT CARLOS JIMENEZ

       The defendant, Carlos Jimenez (“Jimenez”) by and through undersigned counsel, hereby

respectfully moves this Honorable Court to provide the jury with a limiting instruction prior to the

admission of the testimony to which it relates. Specifically, the government provided defense

counsel notice, pursuant to Fed. R. Evid. 404(b)(2)(A), that the “cooperating witness may

reference interactions between Ivan Cruz-Rivera and the cooperating witness prior to October 4,

2013, including certain interactions in 2012 and 2013 during which Cruz-Rivera distributed heroin

to the cooperating witness.” The defendant respectfully requests the jury be instructed this

evidence is introduced solely as to how it may or may not relate to Mr. Cruz-Rivera and it may not

be considered, whatsoever, during its deliberations with respect to Jimenez. Undersigned counsel

respectfully request that the government advise the Court at sidebar prior to eliciting this

testimony.


Dated: November 19, 2018

                                              Respectfully submitted,
                                              CARLOS JIMENEZ
                                              By and through his attorneys,


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                                               /s/ R. Bradford Bailey
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                                      Certificate of Service

        I, R. Bradford Bailey, hereby certify that on this the 19th day of November, 2018, I caused
a true copy of the foregoing motion to be served upon all necessary parties to this matter by virtue
of electronically filing the same via the CM/ECF system.

                                              /s/ R. Bradford Bailey
                                              R. Bradford Bailey, Esq.




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